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           EXHIBIT 117
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                                  Case 8:11-cv-01309-DOC-AN Document 142 Filed 12/03/12 Page 23 of 23 Page ID #:5696



                                                      1    Glidewell Laboratories v. Keating Dental Arts, Inc.
                                                           United States District Court, Central, Case No. SACV11-01309-DOC (ANx)
                                                      2
                                                                                       CERTIFICATE OF SERVICE
                                                      3
                                                                    I hereby certify that on December 3, 2012, I electronically filed the document
                                                      4
                                                           described as DECLARATION OF GREER N. SHAW IN SUPPORT OF
                                                      5
                                                           JAMES R. GLIDEWELL DENTAL CERAMICS, INC.’S MOTIONS FOR
                                                      6
                                                           SUMMARY JUDGMENT with the Clerk of the Court using the CM/ECF System
                                                      7
                                                           which will send notification of such filing to the following:
                                                      8
                                                      9      David G. Jankowski                           Attorneys for Defendant Keating
                                                             Jeffrey L. Van Hoosear                       Dental Arts, Inc.
                                                      10     Lynda J Zadra-Symes                          Tel: (949) 760-0404
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                                                      17
                                                                                                  By: s/Philip J. Graves
                                                      18                                             Philip J. Graves
                                                                                                     Greer N. Shaw
                                                      19
                                                                                                      Attorneys for Plaintiff
                                                      20                                              James R. Glidewell Dental Ceramics, Inc.
                                                                                                      dba GLIDEWELL LABORATORIES
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                                                      28                                                                        Certificate of Service
                                                                                                                           SACV11-01309-DOC (ANx)
